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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                     Plaintiff,

 vs.                                             Case No. 11-20551-54


 WILLLIAM SMITH

                     Defendant.,

 ________________________________/


                                  ORDER FOR RESPONSE

       On May 13, 2015, Defendant William Smith stated his Objections to the

 Presentence Report. In addition, Defendant filed a “Motion to Adopt Rule 11 Plea

 Agreement Guideline Scoring....” on April 28, 2015. Government is required to submit

 its response to the motion and objections and proffers of evidence to the objections of

 the defendant. Therefore,

        Government’s response to the Defendant’s motion is due by July 7, 2015;

 the response to the objections are to be submitted to the probation officer by July

 14, 2015 and sentencing is adjourned until August 4, 2015 at 2:30 pm.

                                           S/Robert H. Cleland
                                          ROBERT H. CLELAND
                                          UNITED STATES DISTRICT JUDGE
 Dated: May 28, 2015
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 I hereby certify that a copy of the foregoing document was mailed to pro se parties and
 counsel of record on this date, May 28, 2015, by electronic and/or ordinary mail.


                                          S/Lisa Wagner
                                         Case Manager and Deputy Clerk
                                         (313) 234-5522
